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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA


V.                                NO. 4:18CR00466-21 BSM

RYAN RIELLY

                                      DETENTION ORDER

       The Defendant appeared with counsel on November 15, 2018 for a pre-trial bond

revocation hearing. Following witness testimony and argument from the parties, the Court finds

by clear and convincing evidence that Defendant violated conditions of release, and it is unlikely

that any condition or combination of conditions will prevent Defendant from violating conditions

of release. Therefore, Defendant is remanded to the custody of the United States Marshal.

       While detained, the Defendant must be afforded a reasonable opportunity to consult

privately with defense counsel. Further, on order of the United States Court or on request of an

attorney for the Government, the person in charge of the corrections facility must deliver the

Defendant to the United States Marshal for a court appearance.

       IT IS SO ORDERED this 15th day of November, 2018.




                                                     ___________________________________
                                                     PATRICIA S. HARRIS
                                                     UNITED STATES MAGISTRATE JUDGE
